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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 11-62278-CIV-COHN/SELTZER

     BILL TAYLOR,

            Plaintiffs,

     vs.

     HOLLYWOOD SARAS, INC. a Florida
     Corporation, BEDFORD AVENUE REALTY, INC.
     A Florida Corporation,

            Defendants.

     __________________________________/


                                         NOTICE OF SETTLEMENT

            Plaintiff, BILL TAYLOR ( “Plaintiffs”), by and through the undersigned

     counsel, hereby notify this Court that they have reached settlement of all

     issues pertaining to their case against Defendants, HOLLYWOOD SARAS, INC.

     and BEDFORD AVENUE REALTY, INC. (“Defendant”).

            The parties’ counsel are presently preparing a formal settlement

     agreement for signature by all parties and intend to file a stipulation for

     dismissal with prejudice when the agreement is signed by all required to do so,

     which they anticipate will be no more than twenty (20) days from the date

     hereof.




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     Respectfully submitted this 13th day of December 2011.

                                                  /s/ Douglas S. Schapiro

                                                  Douglas S. Schapiro
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                                    CERTIFICATE OF SERVICE

            WE HEREBY CERTIFY that a true and correct copy of the foregoing was

     filed electronically using the CM/ECF system on December 13, 2011.

                                                  /s/ Douglas S. Schapiro

                                                  Douglas S. Schapiro
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